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                          IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC.,1                                    ) Case No. 23-11240 (TMH)
                                                                    ) (Jointly Administered)
                                             Debtors.               )
                                                                    )

                       NOTICE OF AGENDA OF MATTERS
              SCHEDULED FOR HEARING ON DECEMBER 18, 2023
           AT 10:00 A.M. (EASTERN TIME) BEFORE THE HONORABLE
    THOMAS M. HORAN IN THE U.S. BANKRUPTCY COURT, 824 NORTH MARKET
    STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801



       This hearing will be conducted in person. All participants (including witnesses) at an in-
    person hearing are required to attend in person, except that remote participation at an in-person
        hearing is permitted for: (i) counsel for a party or a pro se litigant that files a responsive
    pleading and intends to make only a limited argument; (ii) a party or a representative of a party
     that has not submitted a pleading but is interested in observing the hearing; (iii) any party that
           is proceeding, in a claims allowance dispute, on a pro se basis; or (iv) extenuating
          circumstances that warrant remote participation as may be determined by the Court.

     If appearance via Zoom is permitted, please use the following link to register for this hearing
    to appear via Zoom. All individuals participating by video must register by 4:00 p.m. Eastern
     Time on December 15, 2023. After registering your appearance by Zoom, you will receive a
                 confirmation email containing information about joining the hearing.

    https://debuscourts.zoomgov.com/meeting/register/vJIsc-uhpj4sGghzXVHz3yMkWON9SnBWsyM

                    COURTCALL WILL NOT BE USED FOR THIS HEARING.




1
 The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W. Chandler Boulevard,
Suite 225, Unit 236, Chandler, AZ 85225.


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ADJOURNED MATTERS

1.       Objection to Claim of Kristen Rahn – Debtors’ Objection to Claim of Kristen Rahn
         [Filed: 11/3/23] (Docket No. 388).

         Response Deadline: December 3, 2023 at 4:00 p.m. Eastern Time. Extended to
         December 11, 2023 for Kristen Rahn.

         Responses Received:

         a) Response of Kristen Rahn to Debtors’ Objection to Claim of Kristen Rahn [Filed:
            12/11/23] (Docket No. 526).

         Related Documents: None as of the date hereof.

         Status: This matter has been adjourned to the omnibus hearing scheduled for January 30,
         2024 at 11:00 a.m. Eastern Time.

2.       Objection to Claim of MortgageShots, LLC – Debtors’ Objection to Claim of
         MortgageShots, LLC [Filed: 11/3/23] (Docket No. 389).

         Response Deadline: December 3, 2023 at 4:00 p.m. Eastern Time.

         Responses Received:

         a) Response to Debtors’ Objection to Claim of MortgageShots, LLC (Doc 389) [Filed:
            12/4/23] (Docket No. 505).

         Related Documents: None as of the date hereof.

         Status: This matter has been adjourned to the omnibus hearing scheduled for January 30,
         2024 at 11:00 a.m. Eastern Time.

RESOLVED MATTER

3.       Removal Extension Motion – Motion for Entry of an Order Extending Deadline Within
         Which Debtors May Remove Actions [Filed: 11/21/23] (Docket No. 474).

         Response Deadline: December 11, 2023 at 4:00 p.m. Eastern Time.

         Responses Received: None.

         Related Documents:

         a) Certification of No Objection Regarding Motion for Entry of an Order Extending
            Deadline Within Which Debtors May Remove Actions [Filed: 12/13/23] (Docket No.
            532).



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         b) [Signed] Order Extending Deadline Within Which Debtors May Remove Actions
            [Filed: 12/14/23] (Docket No. 535).

         Status: The order has been entered. No hearing is necessary.

UNCONTESTED MATTER GOING FORWARD

4.       Glenn Agre Retention Application – Application of the Official Committee of
         Unsecured Creditors of AmeriFirst Financial, Inc., et al. for an Order Authorizing the
         Retention and Employment of Glenn Agre Bergman & Fuentes LLP as Special Litigation
         Counsel Nunc Pro Tunc to November 7, 2023 [Filed: 11/29/23] (Docket No. 491).

         Response Deadline: December 13, 2023 at 4:00 p.m. Eastern Time.

         Responses Received: None as of the date hereof.

         Related Documents:

         a) Motion of the Official Committee of Unsecured Creditors of AmeriFirst Financial,
            Inc., et al. for Order Shortening Notice of Hearing on the Committee’s Application to
            Retain Glenn Agre Bergman & Fuentes LLP as Special Litigation Counsel [Filed:
            11/29/23] (Docket No. 492).

         b) [Signed] Order Shortening Notice of Hearing on the Committee’s Application to
            Retain Glenn Agre Bergman & Fuentes LLP as Special Litigation Counsel [Filed:
            11/30/23] (Docket No. 494).

         c) Notice of Hearing Date and Objection Deadline Regarding Application of the Official
            Committee of Unsecured Creditors of AmeriFirst Financial, Inc., et al. for an Order
            Authorizing the Retention and Employment of Glenn Agre Bergman & Fuentes LLP
            as Special Litigation Counsel Nunc Pro Tunc to November 7, 2023 [Filed: 11/30/23]
            (Docket No. 495).

         Status: This matter will go forward.

CONTESTED MATTERS GOING FORWARD

5.       DIP Motion – Motion of the Debtors for Interim and Final Orders (I) Authorizing
         Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
         Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
         Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/29/23]
         (Docket No. 21).

         Response Deadline: October 20, 2023.

         Responses Received:

         a) Informal comments received from GNMA and the FHA.


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         b) Emergency Motion of Eric Bowlby to Adjourn the September 18, 2023 Hearing and
            September 13, 2023 Objection Deadline of Debtors’ Motion for Entry of a Final
            Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
            Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
            Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
            Related Relief [Filed: 9/12/23] (Docket No. 113).

              (i) [Signed] Order Denying Emergency Motion of Eric Bowlby to Adjourn the
                  September 18, 2023 Hearing and September 13, 2023 Objection Deadline of
                  Debtors’ Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain
                  Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
                  Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
                  Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 9/13/23]
                  (Docket No. 115).

         c) Preliminary Objection of Eric Bowlby to Debtors’ First Day Motions [Filed: 8/30/23]
            (Docket No. 44).

         d) Supplemental Objection of Eric Bowlby to Debtors’ Motion for Entry of a Final
            Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
            Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
            Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
            Related Relief [Filed: 9/13/23] (Docket No. 116).

              (i) Declaration of Eric Bowlby, Former CEO and Majority Shareholder of AFI, in
                  Support of Eric Bowlby’s Supplemental Objection to Debtors’ Motion for Entry
                  of a Final Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and
                  (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                  Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,
                  and (V) Granting Related Relief [Filed: 9/22/23] (Docket No. 154).

         e) Statement of the Official Committee of Unsecured Creditors Concerning the Debtors’
            First Day Motions and Requesting Status Conference [Filed: 9/27/23] (Docket No.
            171).

         f) United States Trustee’s Objection to Debtors’ Motion for Final Order (I) Authorizing
            Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
            Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
            Stay, and (IV) Granting Related Relief [Filed: 10/13/23] (Docket No. 254).

         g) [SEALED] Preliminary Objection of Official Committee of Unsecured Creditors to
            Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to
            Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
            Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
            Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 10/13/23]
            (Docket No. 256).



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              (i) [UNREDACTED] Preliminary Objection of Official Committee of Unsecured
                  Creditors to Motion of the Debtors for Interim and Final Orders (I) Authorizing
                  Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral,
                  (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying the
                  Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
                  Relief [Filed: 11/6/23] (Docket No. 403).

         h) [Redacted] Preliminary Objection of the Official Committee of Unsecured Creditors
            to Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to
            Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
            Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
            Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 10/18/23]
            (Docket No. 281).

         i) [SEALED] Amended and Restated Objection of the Official Committee of Unsecured
            Creditors to Motion of the Debtors for Interim and Final Orders (I) Authorizing
            Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
            Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
            Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed:
            10/22/23] (Docket No. 310).

             (i) [UNREDACTED] Amended and Restated Objection of the Official Committee of
                 Unsecured Creditors to Motion of the Debtors for Interim and Final Orders (I)
                 Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
                 Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
                 Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
                 Granting Related Relief [Filed: 11/6/23] (Docket No. 404).

         j) [REDACTED] Amended and Restated Objection of the Official Committee of
            Unsecured Creditors to Motion of the Debtors for Interim and Final Orders (I)
            Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
            Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
            the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
            Relief [Filed: 10/25/23] (Docket No. 352).

         Replies:

         a) Reply of the Debtors in Support of Motion of the Debtors for Interim and Final Order
            (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
            Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
            the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
            Relief [Filed: 9/14/23] (Docket No. 118).

         b) Debtors’ Supplemental Omnibus Reply in Support of Motion for Interim and Final
            Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to
            Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders,



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              (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
              Granting Related Relief [Filed: 10/24/23] (Docket No. 338).

         c) [SEALED] Reply of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and
            RCP Customized Credit Fund (Fund IV-A), L.P. in Further Support of Debtors’
            Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain Postpetition
            Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
            Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
            Hearing, and (V) Granting Related Relief [Filed: 10/24/23] (Docket No. 335).

              i.    Motion of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
                    Customized Credit Fund (Fund IV-A), L.P. for Leave to File and Serve a Late
                    Reply in Further Support of the Debtors’ DIP Motion [Filed: 10/24/23] (Docket
                    No. 336).

             ii.    [Signed] Order Granting Motion of RCP Credit Opportunities Fund Loan SPV
                    (Fund III), L.P. and RCP Customized Credit Fund (Fund IV-A), L.P. for Leave to
                    File and Serve a Late Reply in Further Support of the Debtors’ DIP Motion
                    [Filed: 10/25/23] (Docket No. 342).

            iii.    Motion for Entry of an Order Authorizing the Filing of the Reply of RCP Credit
                    Opportunities Fund Loan SPV (Fund III), L.P. and RCP Customized Credit Fund
                    (Fund IV-A), L.P. in Further Support of the Debtors’ DIP Motion Under Seal
                    [Filed: 10/27/23] (Docket No. 368).

            iv.     United States Trustee’s Omnibus Objection to Motions to File Under Seal [Filed:
                    11/2/23] (Docket No. 384).

             v.     Notice of Withdrawal of Docket Nos. 368 and 369 [Filed: 11/6/23] (Docket No.
                    409).

            vi.     [UNSEALED] Reply of RCP Credit Opportunities Fund Loan SPV (Fund III),
                    L.P. and RCP Customized Credit Fund (Fund IV-A), L.P. in Further Support of
                    Debtors’ Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain
                    Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
                    Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
                    Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 11/6/23]
                    (Docket No. 410).

         d. [REDACTED] Reply of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P.
            and RCP Customized Credit Fund (Fund IV-A), L.P., in Further Support of Debtors’
            Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain Post-Petition
            Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
            Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
            Hearing, and (V) Granting Related Relief [D.I.21] [Filed: 10/27/23] (Docket No.
            369).



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              i.    Notice of Withdrawal of Docket Nos. 368 and 369 [Filed: 11/6/23] (Docket No.
                    409).

         Related Documents:

         a) Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
            Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
            Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
            the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
            Relief [Filed: 8/29/23] (Docket No. 37).

         b) Notice of Filing of Revised Proposed Interim Order (I) Authorizing Debtors (A) to
            Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
            Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
            Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/30/23] (Docket
            No. 47).

         c) Certification of Counsel Regarding Interim Order (I) Authorizing Debtors (A) to
            Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
            Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
            Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/31/23] (Docket
            No. 57).

         d) [Signed] Interim Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing
            and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
            Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
            (V) Granting Related Relief [Filed: 8/31/23] (Docket No. 61).

         e) Notice of Entry of Interim Order and Final Hearing Regarding Motion of the Debtors
            for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
            Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
            Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
            Hearing, and (V) Granting Related Relief [Filed: 9/1/23] (Docket No. 67).

         f) Notice of Filing of Proposed Final Order (I) Authorizing Debtors (A) to Obtain
            Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
            Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and (IV)
            Granting Related Relief [Filed: 9/7/23] (Docket No. 82).

         g) Notice of Filing of Budget [Filed: 9/8/23] (Docket No. 87).

         h) Debtors’ Witness and Exhibit List for Hearing on September 18, 2023 at 2:00 p.m.
            (ET) [Filed: 9/14/23] (Docket No. 119).

         i) Notice of Emergency Zoom Hearing September 15, 2023 at 4:00 p.m. [Filed:
            9/15/23] (Docket No. 123).



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         j) Re-Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
            Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
            Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
            the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
            Relief [Filed: 9/18/23] (Docket No. 138).

         k) Eric Bowlby’s Witness List and Exhibit List for Hearing on September 26, 2023 at
            11:00 a.m. (ET) [Filed: 9/22/23] (Docket No. 155).

         l) Debtors’ Witness and Exhibit List for Hearing on October 2, 2023 at 11:00 a.m. (ET)
            [Filed: 9/28/23] (Docket No. 175).

         m) Certification of Counsel Regarding Scheduling and Protective Order [Filed: 10/3/23]
            (Docket No. 203).

         n) [Signed] Scheduling and Protective Order [Filed: 10/5/23] (Docket No. 222).

         o) Notice of Filing of Proposed Revised Final Order (I) Authorizing Debtors (A) to
            Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
            Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and
            (IV) Granting Related Relief [Filed: 10/6/23] (Docket No. 231).

         p) Debtors’ Witness and Exhibit List for Hearing on October 26, 2023 at 10:00 a.m.
            (ET) [Filed: 10/24/23] (Docket No. 328).

         q) Witness and Exhibit List of the Official Committee of Unsecured Creditors for
            October 26, 2023, Hearing [Filed: 10/24/23] (Docket No. 330).

         r) Exhibit List of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
            Customized Credit Fund (Fund-Iv-A), L.P. for the Hearing on October 26, 2023 at
            10:00 a.m. (ET) [Filed: 10/24/23] (Docket No. 339).

         s) Debtors’ Amended Witness and Exhibit List for Hearing on October 26, 2023 at
            10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 349).

         t) Notice of Filing of Revised Budget [Filed 10/25/23] (Docket No. 353).

         u) Debtors’ Second Amended Witness and Exhibit List for Hearing on October 26, 2023
            at 10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 354).

         v) Amended Exhibit List of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P.
            and RCP Customized Credit Fund (Fund-IV-A), L.P. for the Hearing on October 26,
            2023 at 10:00 a.m. (ET) [Filed: 10/26/23] (Docket No. 356).

         w) Re-Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
            Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
            Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying



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              the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
              Relief [Filed: 10/27/23] (Docket No. 365).

         x) [Signed] Order Continuing Final Hearing on Motion of the Debtors for Interim and
            Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to
            Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders,
            (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
            Granting Related Relief [Filed: 11/16/23] (Docket No. 435).

         y) Notice of Filing of Further Revised Budget [Filed: 11/17/23] (Docket No. 447).

         z) Debtors’ Witness and Exhibit List for Hearing on November 21, 2023 at 2:00 p.m.
            (ET) [Filed: 11/17/23] (Docket No. 453).

         aa) Second Amended Exhibit List of RCP Credit Opportunities Fund Loan SPV (Fund
             III), L.P. and RCP Customized Credit Fund (Fund-IV-A), L.P. for the Hearing on
             November 21, 2023 at 2:00 p.m. (ET) [Filed: 11/17/23] (Docket No. 454).

         bb) Notice of Filing of Committee’s Proposed Final Order (I) Authorizing Debtors (A) to
             Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
             Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and
             (IV) Granting Related Relief [Filed: 11/21/23] (Docket No. 468).

         cc) Debtors’ Witness and Exhibit List for Hearing on December 18, 2023 at 10:00 a.m.
             (ET) [Filed: 12/14/23] (Docket No. 533).

         dd) Witness and Exhibit List of the Official Committee of Unsecured Creditors for
             December 18, 2023 Hearing[Filed: 12/14/23] (Docket No. 534).

         Status: This matter will go forward.

6.       Committee Standing Motion – Motion of the Official Committee of Unsecured
         Creditors of AmeriFirst Financial, Inc., et al. for an Order Granting (I) Leave, Standing,
         and Authority to Commence and Prosecute Certain Claims on Behalf of the Debtors’
         Estates and (II) Exclusive Settlement Authority in Respect of Such Claims [Filed:
         11/21/23] (Docket No. 470).

         Response Deadline: December 5, 2023 at 4:00 p.m. Eastern Time. Extended to
         December 7, 2023 at 5:00 p.m. Eastern Time for the Debtors.

         Responses Received:

         a) Objection of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
            Customized Credit Fund (Fund IV-A), L.P. to the Motion of the Official Committee
            of Unsecured Creditors for Standing to Prosecute Claims and Exclusive Settlement
            Authority [D.I. 470] [Filed: 12/5/23] (Docket No. 509).




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         b) Debtors’ Opposition to Motion of the Official Committee of Unsecured Creditors of
            AmeriFirst Financial, Inc., et al. for an Order Granting (I) Leave, Standing, and
            Authority to Commence and Prosecute Certain Claims on Behalf of the Debtors’
            Estates and (II) Exclusive Settlement Authority in Respect of Such Claims [Filed:
            12/7/23] (Docket No. 514).

         Replies Filed:

         a) None to date. Committee deadline to file a reply extended to December 14, 2023 at
            5:00 p.m. Eastern Time.

         Related Documents:

         a) Certification of Counsel Regarding Order Approving Stipulation Extending Response
            and Reply Deadlines [Filed: 12/6/23] (Docket No. 510).

         b) [Signed] Order Approving Stipulation Extending Response and Reply Deadlines
            [Filed: 12/6/23] (Docket No. 511).

         Status: This matter will go forward.


Dated: December 14, 2023                PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
                                        /s/ Laura Davis Jones
                                        Laura Davis Jones (DE Bar No. 2436)
                                        David M. Bertenthal (CA Bar No. 167624)
                                        Timothy P. Cairns (DE Bar No. 4228)
                                        919 North Market Street, 17th Floor
                                        P.O. Box 8705
                                        Wilmington, Delaware 19899-8705 (Courier 19801)
                                        Telephone: 302-652-4100
                                        Facsimile: 302-652-4400
                                        Email: ljones@pszjlaw.com
                                                dbertenthal@pszjlaw.com
                                                tcairns@pszjlaw.com

                                        Counsel to the Debtors and Debtors in Possession




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